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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
      _______________________________
                                     )
DAMOND LEE WILLIAMS,                 )
                                     )
                   Plaintiff,        )
                                     )
v.                                   )   Civil Action No. 16-2062 (EGS)
                                     )
U.S. DEPARTMENT OF VETERANS          )
AFFAIRS, et al,                      )
                                     )
                   Defendants.       )
____________________________________)

    PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
 MOTION TO PRECLUDE PLAINTIFF’S EXPERT OPINION AND FOR SUMMARY
                          JUDGMENT



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                             Dated: September 3, 2019
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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
      _______________________________
                                      )
DAMOND LEE WILLIAMS,                  )
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v.                                    )  Civil Action No. 16-2062 (EGS)
                                      )
U.S. DEPARTMENT OF VETERANS           )
AFFAIRS, et al,                       )
                                      )
                   Defendants.        )
____________________________________)

    PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
 MOTION TO PRECLUDE PLAINTIFF’S EXPERT OPINION AND FOR SUMMARY
                          JUDGMENT

       Damond L. Williams (hereinafter referred to as “Plaintiff”) by and through his

undersigned attorneys respectfully submits this Memorandum of Law in Opposition to

Defendants’ Motion to Preclude Plaintiff’s Expert Opinion and for Summary Judgment.

                                PRELIMINARY STATEMENT

       Plaintiff seeks relief under two theories of liability. The first stated claim is that on

October 30, 2013, the medical staff at The Department of Veteran Affairs (hereinafter referred to

as “VA”) breached the requisite standard of care in assessing, evaluating, and treating Plaintiff

when he presented for a medical appointment for swelling in his throat, jaw, and left foot and for

difficulties with ambulating, on the aforementioned date. The second claim is that the VA failed

to properly supervise their medical staff and that the health care provider who treated Plaintiff on

October 30, 2103, should not have been allowed to misevaluate and misdiagnose Plaintiff,

because she was not supposed to seeing patients without supervision.




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       Plaintiff has presented Fernando A. Porter M.D. (hereinafter referred to as “Dr. Porter”)

as their medical expert to establish that Defendant did in fact breach the medically accepted

standards of care, resulting in actual harm to Plaintiff, with said harm causing Plaintiff to suffer

damages. In the preliminary statement section of their memorandum, Defendants either

unintentionally simplify or makes a material misstatement in implying that Dr. Porter is just a

“Maryland-based home primary care doctor.” As delineated in his provided curriculum vitae,

Dr. Porter is board certified by the American Board of Family Medicine to practice medicine in

twelve (12) different states and the District of Columbia. Further, in addition to serving as a

physician with Medstar (home-based primary care) he also serves as a provider in a telemedicine

capacity, serves as medical director for an ambulance company, and also serves in a different

capacity with Medstar, where he is a provider for patients with urgent needs. Exhibit C at 8 of 9

On a daily basis, in his professional capacities he oversees the care provided by physician

assistants and nurse practitioners. Dr. Porter’s Depo at 28.

       Dr. Porter’s licensures and depth of professional experience coupled with the provided

recognized medical sources juxtaposed with a thorough review of Plaintiff’s relevant medical

files are the basis by which he formed his professional opinion that the VA providers breached

their duty of care to Plaintiff. Dr. Porter has identified the standard of care, which should have

been met by Defendants, thus providing this Honorable Court with basis to deny Defendant’s

demand for Dr. Porter’s opinion to be precluded and to deny Defendant’s demand for summary

judgment. Exhibit H at IV (12-26).

       Defendants’ offering that at least one “nurse practitioner examined Plaintiff’s foot and

there is no dispute about that”, is another misstatement of fact. A mere look by a health care

professional does not equate to an examination. Defendant’s medical treatment notes for




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Plaintiff’s October 30, 2013’s visit do not reflect that there was an examination of his foot or any

treatment plan provided, regarding the swelling and stiffness in his left foot. Moreover,

Defendants’ medical treatment notes, signed by their nurse practitioner, do not reference the fact

that Plaintiff was ambulating with a cane on his October 30, 2013 visit. Dr. Porter states that

Defendant did breach their duty of care to Plaintiff, which pursuant to the Federal Tort Claims

Act and the standards under Federal Rule of Evidence 702, is a sufficient basis for Defendants’

motions to be quashed and have this matter proceed in due course. Exhibit C (Finding of

Negligence at 4-9).

          For the aforementioned reasons and others stated herein, Defendant’s motion to preclude

Dr. Porter’s opinion and Defendant’s motion for summary judgment should both be denied.

                                    FACTUAL BACKGROUND

          Plaintiff’s date of birth is March 20, 1975. When he entered Defendants’ clinic on

October 30, 2013 he was thirty-eight (38) years of age. Plaintiff is a military veteran; he was

honorably discharged from the United States Air Force. He learned the trade of aircraft fuel

maintenance engineer while enlisted in the United States military. Plaintiff is a non-smoker and

does not drink alcohol. Pl. Depo. at 59 (13-18). Due to the inherent respiratory health risks

accompanied with working inside aircraft fuel system containers daily, for the majority of his

workday, plaintiff elected to change careers. Pl. Depo at 93-94.

          Plaintiff started a personal training and physical fitness company. Pl. Depo1 16-17.

However, post the incidents on October 30, 2013, subsequent medical interventions, and

extensive rehabilitative therapy, which left Plaintiff in a significantly diminished physical state,

Plaintiff could no longer develop or work as a personal trainer, so he is now once again



1
    Citations to “Pl. Depo.” refer to the transcript of Plaintiff’s deposition, taken March 4, 2019.


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employed as an aircraft fuel maintenance engineer. Am. Compl2 ¶ 16. He currently resides in

Alabama but frequently travels for his job.

       A representation of Plaintiff’s commitment to change careers was the fact that on or

about October 20, 2013, Plaintiff competed in and finished a “Tough Mudder” endurance

competition. Pl. Depo 22-23. Over a twelve (12) mile course traversing through different

terrains, water challenges and other obstacles courses, Plaintiff competed along with hundreds of

others. During the competition Plaintiff had a pebble in his shoe and that pebble caused a scrape

on his foot. Pl Depo 24-25. The resulting scrape allowed for an opening in the skin in which

bacteria entered, causing swelling and stiffness in his left foot, making it difficult for him to

ambulate without assistance.

       On or about October 29, 2013 Plaintiff called Defendant’s Medical Advice Line because

he was suffering pain and swelling in his jaw and throat and had difficulty swallowing. Exhibit

A. On October 30, 2013, Plaintiff, a layperson without any medical training or expertise, sought

medical guidance and assistance from Defendants. Pl. Depo 45 (2-23). Plaintiff’s mother and

sister who are both registered nurses observed his condition and based on their observations,

recommended he go in for treatment and evaluation at Defendants’ walk-in treatment clinic.

Am. Compl. ¶ 19. Subsequently Plaintiff went to Defendant’s main hospital, located at 50 Irving

Street, NW in the District of Columbia. Therefore, on October 30, 2013, ambulating with a cane,

Plaintiff entered Defendants’ health clinic at their main hospital for assessment, evaluation and

treatment to address his pain and stiffness accompanied by a swollen neck, jaw and foot and his

difficulties with swallowing and ambulating. Pl. Depo 32.


2
 Citiations to “Am. Compl.” Refer to the Amended Complaint for Negligence Resulting in
Personal Injuries and Monetary Damages. The pleading is an exhibit to Plaintiff’s renewed
motion to amend his complaint, filed January 24, 2018. EXF No.29-1.


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       On October 30, 2013, when Plaintiff arrived at Defendant’s clinic it was not required for

him to have an appointment because the clinic accepts walk-in patients. Plaintiff’s first contact

with a non-administrative member of Defendants’ staff was a nurse. Plaintiff informed the nurse

that he was having difficulty with ambulating due to swelling in his left foot and that he had

difficulty swallowing due to his neck and jaw being swollen. Pl. Depo 32-34 and Pl. Depo. 57-

58. The medical intake notes do not have any mention of Plaintiff’s ambulating with a cane or

that his left foot was swollen. Pl. Depo. 32. and Exhibit A. The medical intake notes list

Plaintiff’s chief complaint as having pain and swelling in his jaw. The medical intake notes

further state that Plaintiff was alert and orientated. Exhibit A. Defendants’ medical intake notes

state Plaintiff’s temperature and blood pressure were normal. Id.

       After his initial medical intake, Plaintiff was next seen by Defendant’s nurse practitioner,

Ms. Marguerite McGarrah (hereinafter referred to as “NP McGarrah”).             Amend. Compl. ¶ 22.

Plaintiff advised NP McGarrah that he had difficulty swallowing, that his neck and jaw were

swollen, that his left foot was swollen and it was clearly observable that he was ambulating with

cane. Pl. Depo 35-36. Plaintiff testified that NP McGarrah touched his throat and said his glands

look spongy. Pl. Depo. 36. Next she attempted to look in his throat but the medical equipment,

otoscope, was not working. NP McGarrah attempted to get it to work but she could not, she was

about to leave the room to look for a working otoscope but she stopped and said f*** it

(expletive) it. Pl. Depo 36-37 and Pl. Depo at 61. NP McGarrah never actually examined

Plaintiff’s mouth or throat with an otoscope. However, her medical notes infer that she did,

because she wrote that she did examine said area with an unremarkable finding. Pl. Depo at. 43

(18-20). There is absolutely no mention in her note that Plaintiff was ambulating with a cane,

that his left foot was swollen or that she examined his left foot. Exhibit A.




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       Based on Defendants’ medical notes Plaintiff appeared to be alert, with normal blood

pressure and body temperature, and having no remarkable findings from his oral exam, but NP

McGarrah still ordered an antibiotic prescription for him, but she stated she had misgivings about

prescribing the prescription. Plaintiff, a non-smoker and non-drinker testified that NP McGarrah

counseled him on drug seeking and drug abuse. Pl. Depo. at 37 (12-14) and Pl. Depo. at 62 (7-

16).   NP McGarrah did not provide any particular follow-up instructions or advisements

regarding the swelling in Plaintiff’s left foot and his difficulties with ambulating, such as travel

or activity restrictions. After receiving his prescription, he took his medication and went to his

cousin’s house, where his cousin observed Plaintiff’s disheveled state. Pl. Depo. at 46 (6-15)

       After taking the medication prescribed by NP McGarrah, Plaintiff’s condition did not

improve. Pl. Depo at 47-48. On or about November 1, 2013, he boarded a flight from the

Washington DC area to the Seattle, Washington area to collect personal belongings and effects

from storage. Pl. Depo at 48. (8-20) and 49 (7-12). After the flight Plaintiff’s pain and swelling

intensified. Pl. Depo. 48-49. On or about November 3, 2013, Plaintiff’s pain and complications

climaxed to the level where he could no longer ambulate without assistance. Pl. Depo. at 50-51.

With assistance he checked into Providence Medical Center for treatment and evaluation. He was

subsequently admitted into Providence Medical Center. Pl. Depo at 52-55. At the time of his

admission Plaintiff’s white blood cell count was forty-three thousand (43,000)3. The History and

Physical section of his intake note reads as follows:

        Mr. Williams is a healthy 38 yo old who lives in Washington DC and is currently visiting
a friend in Everett. On Tuesday, 5 days ago he initially went to the VA clinic in Washington DC
for right facial (ear and cheek) swelling and left foot infection with blistering on the dorsum of
the left foot (emphasis added). He reported some troubles with a root canal on the left and was
told he has a possible abscess. Since starting the penicillin, the facial pain and swelling greatly

3
  Per the U.S. National Library of Medicine, the normal number of white blood cells in the blood
is 4,500 to 11,000 white blood cells per microliter (4.5 to 11.0 x 109/L) medlineplus.gov


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improved. The left foot infection continued to worsen. Today, the leg is swollen with new
blistering around the heel and redness extending past the knee. He noted darkened urine. No leg
pain, no fever, no chills, He denies any recent travel however he did participate in a “Mud Run”
10 days ago with some skin abrasions on both feet and a toe-nail injury on the left foot. Exhibit
B at 9.


          After a battery of tests, a course of treatment was determined at Providence Medical

Center, Plaintiff was transferred to a Harborview Medical Center4 Exhibit C at 4 of 9.

          Just four days after being advised by Defendants’ medical staff on drug seeking and

Defendants’ staff not including anything in their medical note about treatment or advisement for

the swelling in his left foot and ambulating with a cane, at Harborview Medical Center Plaintiff

was diagnosed with left leg cellulitis and necrotizing fasciitis. Exhibit C 3 of 9. He had to have

immediate medical surgical intervention. Prior to going into surgery he was advised that he

might not wake up with his left foot. After surgery the first thing he checked was his left foot to

ensure it was still there, it was. Pl. Depo. at 54 (18-23)

          Plaintiff was hospitalized from November 3, 2013 until November 14, 2013. After being

discharged, he could not immediately travel or provide care for himself, so his mother, a

registered nurse, flew to the Seattle, Washington area and stayed with him at an extended stay

hotel until he could travel back to the Washington DC area. Pl. Depo at 55 (14-20).

Subsequently, Plaintiff underwent months of extensive rehabilitative and physical therapy at

Defendant’s main hospital, the same hospital where he went for initial treatment on October 30,

2013. Amend. Compl. ¶ 43.

          In June of 2014, Plaintiff returned to work as an aircraft fuel maintenance engineer. PL.

Depo. at 66-67. He stopped his pursuits of developing a physical fitness company because he

could no longer engage in such strenuous physical activities. Pl. Depo at 95 (11-16). As a result

4
    The only Level 1 adult & pediatric trauma & verified burn center in the state of Washington.


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of the infection and subsequent surgeries to date Plaintiff has suffered long term nerve damage,

which results in him having chronic swelling, stiffness and pain in his left foot and leg. Amend.

Compl. ¶ 52-53.      He consistently wears compression stockings in attempt to mitigate the

swelling. Amend. Compl. ¶ 53. His right ankle and foot are also gradually diminishing in

capacity because they habitually overcompensate for the lack of capacity and strength in his left

leg and foot. Plaintiff went from being able to complete challenging twelve (12) mile obstacle

courses to having to take breaks during his workday due to swelling, stiffness and pain.

                                   PROCEDURAL HISTORY

       On or about October 1, 2015, pursuant to the Federal Tort Claims Act, Plaintiff, then

Claimant, filed a Standard Form 95 Claim for Damage, Injury, or Death, with supplements and

exhibits. Amend. Compl. ¶ 7. The basis for the claim was that Defendants’ health care providers

deviated from the accepted standard practice of care by not properly assessing and treating

Plaintiff on his October 30, 2013 visit at their main hospital in Washington DC. As a result of

Defendant’s malpractice Plaintiff suffered immense harm and actual injuries. In response to

Plaintiff’s filings Defendants sent request for information to Plaintiff, Plaintiff timely responded.

Although, Plaintiff’s counsel made numerous phone calls and inquires, Defendants never denied

or accepted liability for his claim. Amend. Compl ¶ 8-11.

       On or about October 16, 2016, Plaintiff commenced this civil action. ECF No. 1.

Plaintiff sought relief for two separate acts by Defendants. The first count was general

negligence, with a specific focus on the medical malpractice committed by Defendant via NP

McGarrah. The basis for the malpractice claim is that NP McGarrah did not properly assess,

treat, and evaluate Plaintiff when he was her patient on October 30, 2013. Amend Compl. ¶ 41.




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As a result of Defendants’ medical staffs’ professional failures, Plaintiff suffered physical and

economic injuries and Defendants were the sole and proximate cause of Plaintiff’s injuries.

       The second count was negligent supervision, specifically that Defendants failed to

appropriately manage their staff while administering quality care. Amend Compl. ¶ 48. In

addition, that NP McGarrah had professional restrictions, which precluded her from providing

care without supervision. When NP McGarrah treated Plaintiff she operated independently

without supervision. Amend. Compl ¶ 45. The amount sought in damages was one million seven

hundred fifty thousand dollars ($1,750,000.00 USD). The monetary amount sought provides for

compensatory damages, pain, suffering, reimbursement of medical expenses, hotel expenses, lost

wages, and diminished wage earning capacity, as well as attorneys’ fees, costs and interest.

       In Plaintiff’s original complaint he failed to list the United States of America as a named

Defendant. In response, Defendant moved to dismiss this action. Conversely, Plaintiff sought

leave from this Honorable Court to add the United States of America as a Defendant, said leave

request was granted. Plaintiff subsequently filed an amended complaint, with the only

substantive change to his prayer for relief, being that he added the United States of America as a

Defendant; all other aspects of his theory of liability, upon which he sought relief, in his original

filing, were sustained in his amended complaint. ECF No. 26, 29.

       This matter has not been scheduled for formal mediation or alternative dispute resolution.

Moreover, there have been no substantive, meaningful or productive settlement discussions in

this matter. This Honorable Court’s May 2, 2019, Minute Order, stated “the Court strongly

encourages the parties to consider mediation in this matter”, but Defendants expressed they

would prefer to wait until a Summary Judgment order is issued before engaging in substantive

settlement discussions.




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                 PLAINTIFF’S EXPERT AND HIS PROPOSED OPINIONS

        On or about January 10, 2018, Plaintiff initially disclosed Robert Macht, M.D.

(hereinafter referred to as “Dr. Macht) as his medical expert. Accompanying that disclosure was

Dr. Macht’s expert opinion, identifying how NP McGarrah deviated from the acceptable

standard of care and how said deviations and nonfeasance caused Plaintiff harm and injuries.

Specifically, considering Plaintiff’s overall physical state and the fact that he presented with a

cane on October 30, 2013, the standard of care dictated that NP McGarrah should have obtained

minimal labs and warranted cultures, and to start treatment and to follow-up with the patient.

Exhibit D at 4. This did not occur. Therefore, Dr. Macht reached the following finding:

NP McGarra negligence in providing care Mr. Williams is the direct cause of the extensive
injuries suffered by Mr. Williams. Again, if the infection had been detected earlier, by proper
examination and testing, Mr. Williams’ would not have had to undergo such extensive treatments
and procedures. To determine the long term impact on Mr. Williams health an independent
medical exam should be performed. Id. at 5.

        Since 2012 Dr. Macht has been qualified or been deposed as an expert in over sixty (60)

civil actions. Exhibit E. Due to retirement Dr. Macht decided not to continue as Plaintiff’s expert

in this case matter.

        Seeking a new expert in this matter, Plaintiff substituted Dr. Porter for Dr. Macht. Dr.

Porter is a 2010 graduate of Florida State University College of Medicine; in 2005 after earning

his degree bachelor’s degree from Florida A&M University, with honors, he completed a one-

year bridge baccalaureate program at Florida State in 2006. Exhibit C at 8 of 9. As previously

stated he is licensed to practice medicine in twelve (12) states and the District of Columbia. Dr.

Porter has several different professional titles and roles in each capacity. Id, at 9. During his

deposition inquiry defense counsel did not inquire all aspects and the time commitments for each




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role. However, it was established that Dr. Porter provides oversight for nurse practitioners. Dr.

Porter. Depo. at 28 (1-9).

       In his role as Medical Director of Life Ambulance, he actively directs and leads the

clinical performance of the Life Ambulance EMS, and he has the ultimate clinical authority on

executed clinical guidelines, rules procedures, and medications used given the current evidence

based practices. Exhibit C at 8-9. In his role with the MedStar Prompt Care team he evaluates,

treats and diagnosis patients with urgent care needs and supervises physician assistants and nurse

practitioners. Id. In his primary role with MedStar, in addition to providing routine primary care

services he provides joint injections, arthrocentesis and radiography readings, cyrotherapy

procedures, cyst removals, skin biopsies and incision and drainage procedures. Id. Dr. Porter’s

Depo at 22-23.      .5Finally, in his part-time role with Doctor on Demand, he provides

telemedicine6 consultations to patients in 14 different states with patient population having basic

care needs to both acute and chronic needs. Exhibit C 8-9.

       Before speaking with Plaintiff, Dr. Porter first had a phone conversation with Plaintiff’s

lead counsel and subsequently reviewed the following documents, VA Medical Center Treatment

Notes from October 30, 2013, Providence Medical Center notes, and Harborview Medical Center

notes, along with photos of Plaintiff post operations in Seattle, Washington. Still having

questions he followed up with Plaintiff to have a phone discussion. Dr. Porter also made

contemporaneous notes from his discussions. Dr. Porters. Depo at 9. (8-18)

       In the Background section of his expert opinion he stated that prior to the October 30,

2013, VA encounter, Plaintiff’s overall health would be considered excellent. Further, stating


5
  Citations to Dr. Porter’s Depo refer to the transcript of Dr. Porter’s deposition taken March 4,
2019, Relevant excepts from the transcript are submitted herewith as Exhibit J
6
  Online clinical health care services


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that Plaintiff was a non-smoker, non-drinker and non-illicit drug user and that he exercised

regularly and worked as a personal trainer. Exhibit C at 2-3 of 9. Dr. Porter also acknowledged

that prior to his VA visit Plaintiff had just completed an obstacle course where he traversed up

and down a number of hills, across bodies of water, among other tasks over a twelve (12) mile

course. Id.

       In the Basis of Findings section of Dr. Porter’s report he delineates that NP McGarrah’s

treatment notes only reference that Plaintiff presented with right neck swelling and puffiness

extending down to the level of the thyroid. Exhibit C at 2-3. He further notes that NP

McGarrah’s note does not reflect any mention of Plaintiff ambulating abnormalities. Id at 3. He

continues his appraisal of NP McGarrah’s clinical intake, stating it appears that she completed

her clinical examination of him without any evaluation of his lower extremities. Id. Further Dr.

Porter explains, if it is not in the treatment note, there is no way to document that treatment

happened. Dr. Porter Depo at 12-13. He concludes this portion of analysis by again stating,

another item lacking from NP McGarrah’s treatment note is any mention that Plaintiff had

ambulatory dysfunction, that there was swelling in his left foot, and that he was walking with a

cane. Exhibit C at 2-3.

       Next Dr. Porter shifts his attention to Plaintiff’s medical intake at Providence Regional

Medical Center. He notes that their Plaintiff is diagnosed with severe cellulitis that extended

from his foot up to the level of his thigh. Id. Laboratory testing also found him to have acute

renal insufficiency, and elevated bilirubin levels and rhabdomyolysis (evidence of severe muscle

cell death). He further pronounces the sum of his (Plaintiff’s) myositis findings on MRI was

found to be necrotizing fasciitis. Id. Necrotizing fasciitis is considered to be a life threating

medical problem if not addressed in a timely fashion.      Ultimately, he notes that Providence




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Medical Hospital transferred Plaintiff to Harborview Medical Center because Plaintiff’s

condition and the requisite treatment exceeded Providence Medical Center scope of practice. Id,

at 4. At Harborview Medical Center Mr. Williams underwent fasciotomy procedure7 and on

November 15, 2013, after further treatments, medications and observations he was cleared of

cellulitis in his lower left extremity. Id. at 4.

        In the Findings of Negligence section of his opinion, with consideration for Plaintiff as a

patient and how he presented on October 30, 2013 at the VA clinic, Dr. Porter states the

appropriate standard of care would have been for

[E]valuation and treatment for cellulitis at minimum, would have been to evaluate the extremity
or area of concern with a history and physical exam consisting of, but not limited to, the
appearance of the skin, observation of fluid collection, color and collection of fluid for culture if
drainage was present, temperature of the skin compared to other areas, sensation and laboratory
testing. In addition to not practicing within the standard of care there were no follow-up
instructions given to advise Mr. Williams if or when to come back if he were to have
complications, worsening symptoms or incomplete/poor response to the treatment given.


If NP McGarrah would have performed even some of the aforementioned exams or test to the
lower extremity, or followed up via phone call or in person with Mr. Williams, the chances of
earlier detection, treatment, and reduce suffering would have been improved for Mr. Williams. It
is very likely that if a lower extremity exam had been properly performed, evaluated and treated
with the proper spectrum of antibiotics, that Mr. Williams would not have had to undergo life-
saving medical treatment that left him with a career ending outcome (as a personal trainer) due to
significantly decreased physical capacity, overall decrease in quality of life, chronic swelling,
extremity and joint pain, and neurological dysfunction. Id. at 5-6.


                                     STANDARD OF REVIEW

I. LEGAL STANDARD FOR ADMISSIBILITY OF EXPERT EVIDENCE




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  Surgery (fasciotomy) is the only treatment for acute compartment syndrome. The muscle
compartment is cut open to allow muscle tissue to swell, decrease pressure and restore blood
flow. Complications may include muscle loss, amputation, infection, nerve damage, and kidney
failure. https://www.medicinenet.com › compartment_syndrome › article


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       Federal Rule of Evidence 702, establish the following threshold requirements for

introducing expert testimony:

If scientific, technical or other specialized knowledge will assist the trier of fact to understand the
evidence or to determine a fact in issue, a witness qualified as an expert by knowledge, skill,
experience, training or education, may testify thereto in the form of an opinion or otherwise, if
(1) the testimony is based upon sufficient facts or data, (2) the testimony is the product of
reliable principles and methods, and (3) the witness has applied the principles and methods
reliably to the facts of the case.

       Rule 702 has been amended in response to Daubert v. Merrell Dow Pharmaceuticals,

Inc. 509 U.S. 579 (1993) and to the many cases applying Daubert, including Kumho Tire Co. v.

Carmichael, 119 S.Ct. 1167 (1999). In Daubert, the Court charged trial judges with the

responsibility of acting as gatekeepers to exclude unreliable expert testimony. In Kumho, the

Court made it clear that this gatekeeper function applies to all expert testimony, not just

testimony based strictly on scientific principles. Rule 702, as amended, affirms the trial court's

role as gatekeeper and provides general standards to be used to assess the reliability and

helpfulness of the proffered expert testimony.

       Daubert set forth a non-exclusive checklist for trial courts to use in determining whether

or not to admit expert testimony. The specific factors identified by the Supreme Court in

Daubert are: (1) whether the expert’s theory can be or has been tested objectively, as opposed to

being a subjective, conclusory approach that cannot be verified; (2) whether the expert's theory

has been subjected to peer review or publication; (3) whether the expert's theory is subject to

known or potential rates of error; (4) whether the expert’s theory comports with applicable

standards and controls; and (5) whether the expert's theory has acquired general acceptance in the

relevant academic community.

       Other courts have identified other factors to be applied, including: (1) whether the

expert's testimony arises out of research conducted by the expert independent of the pending



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litigation, as opposed to the formulation of opinions exclusively for purposes of testifying; (2)

whether the expert's opinion flows naturally, or constitutes a quantum leap from the factual data

forming a matrix for the expert's theory; (3) whether other alternative explanations have been

addressed and rationally eliminated; (4) the level of intellectual rigor which characterizes the

expert's work; and (5) whether the discipline of which the expert is a member itself affords the

requisite degree of reliability.

        The authoritative commentary in the Advisory Committee Notes for Rule 702 concludes

that "the rejection of expert testimony is the exception rather than the rule" even after Daubert.

"[T]he trial court's role as gatekeeper is not intended to serve as a replacement for the adversary

system." United States v. 14.38 Acres of Land Situated in Leflore County, Mississippi, 80 F. 3d.

1074, 1078 (5th Cir. 1996). Daubert and its progeny regularly refer to the primary role of

thorough cross examination and presentation of countervailing testimony, in conjunction with

careful jury instructions, as the "traditional and appropriate means of attacking shaky but

admissible evidence." Daubert supra., 509 U.S. at 595.

        Moreover, although the filing of Daubert motions is attaining the frequency level of

motions to dismiss on the basis of alleged spoliation of evidence (largely because the courts have

refrained from imposing sanctions for the filing of frivolous Daubert or spoliation motions), the

Advisory Committee notes that neither Rule 702 nor the decisional law flowing from Daubert

are intended to provide an excuse for an automatic challenge to the testimony of every expert. As

the court stated in In re Paoli R.R. Yard PCB Litigation, 35 F 3d. 717, 744 (3d Cir. 1994)

proponents of expert testimony "do not have to demonstrate to the judge by a preponderance of

the evidence that the assessments of their experts are correct, they only have to demonstrate by a

preponderance of evidence that their opinions are reliable."




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II. MOTIONS FOR SUMMARY JUDGMENT

       Summary judgment short-circuits the fact-finding function of the federal courts. It is only

“granted when there is no genuine issue of material fact and the movant is entitled to judgment

as a matter of law. In determining whether a genuine issue of fact exists, the court must view all

facts in the light most favorable to the non-moving party.” Judicial Watch, Inc. v. Consumer

Financial Protection Bureau, 985 F. Supp. 2d 1, 6 (D.D.C. 2013)

       Summary judgment should only be granted if the record and affidavits show that “there is

no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. Rule 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The

parties may support their positions by citing to the record, including, inter alia, documents,

affidavits, or declarations, or by showing that the materials cited by the other party do or do not

establish the absence of a genuine dispute. Fed. R. Civ. P. 56(c). An issue is genuine if “a

reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986); see also Mitchell v. Shane, 350 F.3d 39, 47 (2d Cir. 2003). A

fact is material if it “might affect the outcome of the suit under the governing law.” Anderson,

477 U.S. at 248.

       The moving party shoulders the initial burden of setting out the basis of its motion and

showing the absence of a genuine issue of material fact. Celotex, 477 U.S. at 323. Once met, the

burden then shifts to the nonmoving party who, in order to defeat a motion for summary

judgment, “may not rely on mere conclusory allegations nor speculation, but instead must offer

some hard evidence showing that its version of the events is not wholly fanciful.” D’Amico v.

City of New York, 132 F.3d 145, 149 (2d Cir. 1998). Even so, “[t]he Court must draw all




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inferences in favor of the non-moving party.” Id. “A court may grant summary judgment only

when no rational jury could find in favor of the non-moving party.” Id.

III. THE FEDERAL TORT CLAIMS ACT

The standard set forth by Defendant is appropriate. In addition, note:

       The FTCA, 28 U.S.C. §§ 1346(b), 2671-80, waives the sovereign immunity of the United

States for certain torts committed by federal employees. FDIC v. Meyer, 510 U.S. 471, 477

(1994). It provides that district courts have exclusive jurisdiction of civil actions against the

United States for money damages "for injury or loss of property, or personal injury or death

caused by the negligent or wrongful act or omission of any employee" of the federal government

while acting within the scope of his office or employment. 28 U.S.C. § 1346(b).

ARGUMENT

OPPOSITION TO MOTION TO PRECLUDE DR. PORTER’S PROPOSED OPINIONS

I. DR. PORTER IS QUALIFIED TO SERVE AS AN EXPERT DUE TO HIS
KNOWLEDGE, SKILL, EXPERIENCE, TRAINING AND EDUCATION.

       Defendant grossly understates the depth of Dr. Porter’s professional experiences. For

Medstar, Dr. Porter serves in urgent care and primary care roles; serving in both for the majority

of his career, he has conservatively provided care for over twenty thousand (20,000) patients.

Medstar is the largest private healthcare provider in this region. He also supervises physician

assistants and nurse practitioners in urgent care settings for Medstar.

       In his administrative role as Medical Director, he overseas the clinical policy manual for

all providers of emergency care services and the policy and procedures for emergency

management technicians who provide service on each of Life Medical’s twenty six (26)

emergency service vehicles.




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       Dr. Porter’s educational credentials, licensure in twelve 12 states and the District of

Columbia, volume of practice, management experience, and administrative policy experience

qualify him to articulate the appropriate level of care that should be provided in the urgent and

primary care settings and conversely affords him the ability to outline the clinical failings of

Defendants, specifically, NP McGarrah.

       Finally, as Dr. Porter stated in his deposition he has diagnosed cellulitis too many times

to count. Dr. Porter’s Depo. at 25-26. It is within his expertise and scope of practice to diagnosis

and refer out, as Defendants’ nurse practitioner should have done with Plaintiff.

II DR. PORTER’S TESTIMONY WILL ASSIST THE TRIER OF FACT TO
UNDERSTAND THE EVIDENCE OR TO DETERMINE A FACT IN ISSUE.

       Dr. Porter will assist the trier of fact in understanding the clinical documentation

requirements for medical care providers, in urgent and primary care settings. In his articulation

he will use the VA’s own guidelines, a national standard, which clearly states “[m]edical

documentation is required for all services provided to a Veteran under the Department of

Veterans Affairs.” Exhibit F. at 1. There is absolutely nothing in NP McGarrah’s treatment note

that supports Defendants’ new found contention that she did in fact examine Plaintiff’s left foot

on October 30, 2013. Moreover, she provides no basis for prescribing an antibiotic, when

according to her treatment notes; her oral exam yielded an unremarkable finding for Plaintiff. Dr.

Porter’s Depo. at 38-39 and at 78. . According to the minimum requirements for content of

medical documentation or records, for VA staff, the record may include, “an executive summary

of the encounter to include any procedures performed and recommendations for further testing or

follow-up (i.e. discharge summary for inpatient).” Exhibit F. at 4. That was absent in NP

McGarrah’s note as well.




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        In piercing contrast, Defendant’s own medical expert8 states the following in the

Conclusion of his expert report:

There is no evidence that he (Plaintiff) notified the VA staff that something was wrong with his
lower extremity. Consistent with the standard of medical care for a such a circumstance, he was
therefore not evaluated for a lower extremity infection.” Exhibit G at 6 (Conclusion)

        Plaintiff and at least two witnesses will provide testimony that on October 30, 2013 he

was ambulating with a cane. In their interrogatory responses Defendants’ offer that Plaintiff was

not ambulating with a cane. Exhibit K at 6.           Dr. Porter will assist the trier of fact in

understanding the national standard of care in a clinical setting for a healthy active adult (in this

instance a person who completed a twelve mile obstacle course), having no known infirmities

but for some reason is ambulating with a cane due to swelling and stiffness in a lower

extremities. Using national acceptable standards he will outline the appropriate clinical testing

and laboratory testing that should occur in said circumstance and the appropriate manner in

which to escalate the treatment of the patient. Exhibit H at IV (12-26).

        Using nationally accepted standards, Dr. Porter will assist the trier of fact in

understanding the next steps that should be taken in a clinical setting when there is a diagnosis,

such as cellulitis. Id.

        Finally, Defendants’ are conflating the issue of expert opinion admissibility by choosing

to focus on "principles and methodology, not on the conclusions they generated by Dr. Porter.

The Supreme Court emphasized in Daubert, that the four factors are neither exclusive nor

entirely dispositive of whether or not the testimony at issue should be admitted. Not all of the

specific Daubert factors can apply to every form of expert testimony. For instance, lack of peer

review or publication is deemed unimportant where the opinion is supported by "widely accepted



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    Shmuel Shoham, MD


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scientific knowledge." Kannankeril v. Terminix, International, Inc. 128 F.3d 802, 809 (3d. Cir.

1997).

III. DR. PORTER’S PROPOSED                       TESTOMONY           DOES       SATISFY       THE
REQUIREMENTS OF RULE 702.

         Based on the medical treatment note of NP McGarrah, Defendant’s interrogatory

response and Defendant’s own medical expert opinion there was no examination or treatment of

Plaintiff’s left foot on October 30, 2013. Therefore, Dr. Porter’s proposed standard of care is not

misplaced. His analysis focuses on Defendants departure from appropriate and acceptable

medical standards for documentation, evaluation and follow-up, none of which occurred by

Defendants on October 30, 2013, related to Plaintiff’s left foot. Moreover, Defendants conflate

the matter of diagnosis and treatment. The appropriate clinical measure for NP McGarrah after

diagnosis would have been to refer this matter to a specialist at the main the hospital, just as the

Providence Medical Center did with Mr. Williams and as Dr. Porter testified he has done in his

practice. Dr. Porter Depo at 25-26.

         Dr. Porter’s testimony will assist the trier of fact in making their determinations on

Defendants’ veracity; by juxtaposing the shifting of Defendants’ positions on critical matters

such as, the allegation that NP McGarrah did an actual exam of Plaintiff’s left foot on October

30, 2013. Likewise, if the trier of fact draws their own independent inferences on if NP

McGarrah did in fact examine Plaintiff’s foot, they will have to grapple with why didn’t she

notate it in her treatment notes, like her findings for Plaintiff’s oral exam. More importantly, if

they in fact accept that an exam of Plaintiff’s foot occurred, NP McGarrah did follow the

appropriate standard of care after completing the examination as far as diagnosis, follow-up and

documentation of the event.




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         Again, Dr. Porter’s expertise and reliance upon national medical standards will assist the

trier of fact in understanding what the reasonable level of care should have been for 1) the initial

examination and corresponding documentation for treatment of Plaintiff’s left foot and overall

visit, 2) what should have been done with the findings; and 3) any follow-up protocol that should

have been applied.

IV. DR. PORTER’S TESTIMONY IS BASED ON RELIABLE PRINCIPLES AND
METHODS.

         The Infectious Disease Society of America, a medical association that has eleven

thousand (11,000) physician members9, provides the standard of care utilized by Dr. Porter in his

articulations. Dr. Porter relied upon the guidelines for authority and he supplemented his

deposition testimony with the article outlying where he received his authority. Of note, is that

Defendants’ medical expert is published and is an ad-hoc reviewer in two of the Infectious

Disease Society of America’s journals, namely the American Journal of Infectious Disease and

Clinical Infectious Diseases.

         For the above referenced reasons, Dr. Porter’s medical opinion satisfies the requirements

to be admissible under Federal Rule 702. Further, Dr. Porter is qualified to offer an opinion

regarding the standard of care and his opinions are reliable and will assist the trier of fact and this

Honorable Court in the administration of justice. Finally, his proposed testimony is not based on

incomplete and erroneous fact and it does reflect a methodology based on reliable principles.

                        MOTION OPPOSING SUMMARY JUDGMENT

         Dr. Porter’s testimony is admissible for the aforementioned stated reasons. Thus, in

review the fact most favorable light to the Plaintiff, Plaintiff has met their burden to quash

Defendants’ Motion to preclude Dr. Porter’s expert opinion and Motion for Summary Judgment.

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    Per the website of the Infectious Disease Society of America https://www.idsociety.org/


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Dr. Porter’s sole opinion is not just that NP McGarrah should have examined Plaintiff’s foot. He

further articulates the specific types of treatment Plaintiff should have been afforded by NP

McGarrah and mitigating impact of said treatments, in addition to his deposition testimony that

her treatment do not reflect she in fact examined Plaintiff’s foot.

       Further, and more importantly there are genuine disputes of material fact. Such as did

NP McGarrah accurately document her treatment notes for Plaintiff on October 30, 2013.

Plaintiff’s contention is that she did not clinically examine his foot and that her lack clinical

competency led to the injuries suffered by Plaintiff. Further, that Plaintiff is forever physically

diminished due to Defendants’ breach of duty from the acceptable medical standards of care.

And finally, that NP McGarrah should not have been providing care without supervision.

I. PLAINTIFF CAN SATISFY THE ELEMENTS OF A FEDERAL TORT CLAIMS ACT

       By virtue of Plaintiff’s status as a veteran receiving care in a VA facility, Defendants

owed a duty of care to Plaintiff. Namely that duty was to appropriately evaluate, treat, and

follow-up to ensure Plaintiff was receiving quality care. By not thoroughly examining Plaintiff’s

left lower extremity and by failing to perform the appropriate test Defendants’ breached that

duty. Providence Regional Medical Center did not breach their to Plaintiff. When the medical

staff at Providence Regional Medical Center learned of Plaintiff’s foot swelling they did not

blindly prescribed an antibiotic, rather they performed a battery of medical examinations and

test, thoroughly noted their methods and ultimately transferred Plaintiff to the appropriate facility

once it was determined that the needs of Plaintiff’s diagnosis care plan exceeded their scope of

practice. Finally, Plaintiff can establish that he did in fact suffer damages as a proximate cause

of Defendants’ negligence.

II. DEFENDANTS’ EXPERT OPINION IS NOW RENDERED MUTE




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       Defendants attempt to now conveniently proffer that NP McGarrah actually examined

Plaintiff’s left foot on October 13, 2013, is unconvincing and unpersuasive, with appropriate

consideration given to the fact that in their interrogatory responses Defendants denied that

Plaintiff ambulated with a cane and further that Plaintiff did not complain about foot or leg pain.

Secondly, in formulating his opinion Defendants’ medical expert states that Defendants did not

evaluate Plaintiff for a lower extremity infection. This is in direct contrast with Defendants most

recent admission and proposal of undisputed facts that NP McGarrah did in fact examine

Plaintiff’s foot on October 30, 2013.

       Defendants have not sought relief to alter or amend their opinion or to disclose a new

expert or opinion or both. It is conceivable that if Defendants continue with their new assertion,

which now they must, that NP McGarrah did in fact examine Plaintiff’s left foot, their expert will

have to concur with Dr. Porter and VA standards, that Defendants departed from the appropriate

standard of care by not documenting treatment and that the failure to thoroughly examine, and to

order additional tests and provide follow-up instructions was a breach of duty by Defendants and

said breach was the sole and proximate cause of the damages suffered by Plaintiff.

III. DEFENDDANTS ARE NOT ENTITLED TO SUMMARY JUDGMENT AS TO
PLAINTIFF’S CLAIM BASED ON NEGLIGENT SUPERVISION.

       A significant portion of Plaintiff’s claim regarding Defendants negligent supervision of

NP McGarrah is enveloped in the verbal admissions made to Plaintiff by Defendants employees.

Those admissions were received while Plaintiff received rehabilitative and physical therapy

treatments at Defendants Washington DC main hospital. The substance of the admissions was

that NP McGarrah had professional restrictions, which precluded her from providing direct

patient care without supervision.




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          There is nothing in Defendants’ treatment notes that states NP McGarrah had supervision

while providing care to Plaintiff on October 30, 2013. Although Defendants did not address this

issue in their deposition questions of Plaintiff, it was addressed in their denial of Plaintiff’s claim

in their answer to Plaintiff’s amended complaint. Therefore, there is a disputed fact that makes

this issue ripe for assessment by trier fact.

IV. IF DR. PORTER’S TESTIMONY IS PRECLUDED PLAINTIFF SHOULD HAVE
LEAVE TO AMEND OR TO SEEK AND DISCLOSE A NEW EXPERT

          There are facts of genuine issue that are in dispute, even if Dr. Porter’s testimony is

precluded. Chiefly did Defendants’ nurse practitioner actually preform a clinical exam on

Plaintiff’s foot on October 30, 2013? Therefore, if Dr. Porter’s testimony is precluded, Plaintiff

should be granted to leave to either amend Dr. Porter’s proffered opinion or substitute a different

expert.

                                           CONCLUSION

          Therefore, for the reasons set forth above and herein, this Honorable Court should deny

Defendants’ motions to preclude Dr. Porter’s expert testimony and deny Defendant’s motion for

summary judgment.

Dated: Tuesday, September 3, 2019.




                                                               Respectfully Submitted,
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